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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Special Agent Ian Montijo, of the Federal Bureau of Investigation (“FBI”), being duly
sworn, deposes and states as follows:

1. This affidavit is being submitted in support of a Criminal Complaint charging with
NICHOLAS JOHN ROSKE with attempt to murder a United States Supreme Court Justice in
violation of 18 U.S.C. § 115(a)(1)(A).

PROBABLE CAUSE

De I am an “investigative or law enforcement officer of the United States” within the
meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United
States who is empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Section 2516 of Title 18.

De I have been employed by the FBI since January 2020, and am currently assigned
to the Federal Bureau of Investigation (FBI)’s Baltimore Division with the Joint Terrorism Task
Force (“JTTF”). Previously, I spent four years in the United States Marine Corps serving as an
Intelligence Officer. During my tenure with the FBI, I have gained knowledge in the use of
various investigative techniques including the utilization of location data, physical surveillance,
investigative interviews, the service of Grand Jury Subpoenas, and the execution of search and
arrest warrants primarily in domestic terrorism investigations. From these experiences, I have
become familiar with the ways in which persons plan and conduct criminal activities, to include
but not limited to, the efforts persons involved in such activity take to disguise operations and

avoid detection by law enforcement.

4. On June 8, 2022, at approximately 1:05 a.m., two United States Deputy Marshals

saw an individual dressed in black clothing and carrying a backpack and a suitcase, get out of a

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taxicab that had stopped in front of the Montgomery County, Maryland residence of a current
Justice of the United States Supreme Court. The individual looked at the two Deputy U.S.
Marshals, who were standing next to their parked vehicle, and then turned to walk down the

street.

5. Shortly thereafter, Montgomery County Emergency Communications Center
fielded a call from an individual who identified himself as NICHOLAS JOHN ROSKE. ROSKE
informed the call taker that he was having suicidal thoughts and had a firearm in his suitcase.
ROSKE also told the call taker he came from California to kill a specific United States Supreme
Court Justice. The Montgomery County Police Department officers were dispatched to the
location near the Supreme Court Justice’s residence where they encountered ROSKE, who was
still on the telephone with the Montgomery County Emergency Communications Center.
ROSKE was taken into custody without incident and law enforcement officers seized both the

backpack and the suitcase that were still in his possession.

6. An inventory search of the seized suitcase and backpack revealed a black tactical
chest rig and tactical knife, a Glock 17 pistol with two magazines and ammunition, pepper spray,
zip ties, a hammer, screwdriver, nail punch, crow bar, pistol light, duct tape, hiking boots with

padding on the outside of the soles, and other items.

Tes After being transported to the Montgomery County Police Department Second
District Precinct, a detective advised ROSKE of his constitutional rights. ROSKE indicated that
he understood his rights, agreed to speak with the agents, and signed a written waiver to that
effect. ROSKE then told the detective that he was upset about the leak of a recent Supreme
Court draft decision regarding the right to abortion as well as the recent school shooting in

Uvalde, Texas. ROSKE indicated that he believed the Justice that he intended to kill would side

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with Second Amendment decisions that would loosen gun control laws. ROSKE stated that he
began thinking about how to give his life a purpose and decided that he would kill the Supreme
Court Justice after finding the Justice’s Montgomery County address on the Internet. ROSKE
further indicated that he had purchased the Glock pistol and other items for the purpose of

breaking into the Justice’s residence and killing the Justice as well as himself.

8. I conducted a second interview of ROSKE at approximately 9:54 a.m. on June 8,
2022, after I advised ROSKE of his constitutional rights and he waived those rights in writing.
Among other things, ROSKE admitted again that he had traveled to the Montgomery County

residence with the intent to break into the Justice’s house and to kill the Justice and then himself.

CONCLUSION

9. Based on the above information, I believe probable cause exists to support the
issuance of a Criminal Complaint charging NICHOLAS JOHN ROSKE with attempt to murder a

United States Supreme Court Justice in violation of 18 U.S.C. § 115(a)(1)(A).

Ian Montijo
Special Agent
Federal Bureau of Investigation

Affidavit submitted by email and attested to me as true and accurate by telephone

consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) this 8th day of June, 2022.

The Honorable Timothy J. Sullivan
United States Magistrate Judge

District of Maryland

